
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/supreme/a_94_15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/supreme/a_64_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_74_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_44_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_84_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_97_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_91_15.pdf (mistyped character)
/attorneys/assets/opinions/supreme/a_92_15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
